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                  In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                             No. 13-721V

*************************
TODD CHYNOWETH,            *                                     Special Master Corcoran
                           *
                           *
               Petitioner, *                                     Filed: February 16, 2017
                           *
          v.               *
                           *                                     Decision by Stipulation; Damages;
SECRETARY OF HEALTH        *                                     Influenza (“Flu”) Vaccine; Convergence
AND HUMAN SERVICES,        *                                     Insufficiency; Vertical Heterophoria;
                           *                                     Cognitive Difficulties; Vertigo; Weakness.
               Respondent. *
                           *
*************************


Ramon Rodriguez, III, Rawls, McNelis and Mitchell, P.C., for Petitioner.

Gordon E. Shemin, U.S. Dep’t of Justice, Washington, DC, for Respondent.

                                  DECISION AWARDING DAMAGES1

        On September 24, 2013, Todd Chynoweth filed a petition seeking compensation under the
National Vaccine Injury Compensation Program (“Vaccine Program”).2 Petitioner alleges that he
suffered from several injuries, including convergence insufficiency, vertical heterophoria,
cognitive difficulties, vertigo, and weakness, as a result of his September 24, 2010, receipt of the
influenza (“flu”) vaccine. Moreover, Petitioner alleges that he experienced residual effects of this
injury for more than six months.




1
  This decision will be posted on the United States Court of Federal Claims website, in accordance with the E-
Government Act of 2002, 44 U.S.C. § 3501 (2012). As provided by 42 U.S.C. § 300aa-12(d)(4)(B), however, the
parties may object to the decision’s inclusion of certain kinds of confidential information. Specifically, under Vaccine
Rule 18(b), each party has fourteen days within which to request redaction “of any information furnished by that party:
(1) that is a trade secret or commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of privacy.”
Vaccine Rule 18(b). Otherwise, the whole decision will be available to the public in its current form. Id.
2
 The Vaccine Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660,
100 Stat. 3758, codified as amended at 42 U.S.C. §§ 300aa-10 through 34 (2012) (“Vaccine Act” or “the Act”).
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        Respondent denies that Petitioner’s flu vaccination caused his alleged injury or condition.
Nonetheless both parties, while maintaining their above-stated positions, agreed in a stipulation
(filed on February 16, 2017) that the issues before them could be settled, and that a decision should
be entered awarding Petitioner compensation.

        I have reviewed the file, and based upon that review, I conclude that the parties’ stipulation
(as attached hereto) is reasonable. I therefore adopt it as my decision in awarding damages on the
terms set forth therein.

         The stipulation awards:

             A lump sum of $150,000.00 in the form of a check payable to Petitioner.

Stipulation ¶ 8. This amount represents compensation for all damages that would be available
under Section 15(a) of the Act.

        I approve a Vaccine Program award in the requested amount set forth above to be made to
Petitioner. In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the Court is directed to enter judgment herewith.3


         IT IS SO ORDERED.

                                                                       /s/ Brian H. Corcoran
                                                                          Brian H. Corcoran
                                                                          Special Master




3
 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by each filing (either jointly or separately)
a notice renouncing their right to seek review.

                                                           2
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